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                 Exhibit 3
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                                                                DISCOVERY MOTIONS

                                                                            DOCKET
           DATE                     NAME OF MOTION                                 DEFENDANT                  SUBJECT MATTER
                                                                              NO.
                                                                                                  Defendants moved to compel IPPs and DPPs
                      Defendants' Motion to compel Plaintiffs to produce
                                                                                                  to produce evidence in support of their
          9/3/2010    evidence for Plaintiffs' allegations of conspiracy     810   All Defendants
                                                                                                  allegations that there was a conspiracy to fix
                      regarding CRT Products
                                                                                                  prices of finished CRT products.
                                                                                                  Hitachi refused to produce any discovery
                      Plaintiffs' Motion To Compel Discovery With                                 related to finished CRT products on the
         9/10/2010                                                           809       Hitachi
                      Respect To CRT Products                                                     grounds it was irrelevant because the
                                                                                                  conspiracy related to CRTs.
                                                                                                  Hitachi refused to produce any documents or
                                                                                                  data relating to transactions or activities
                      Plaintiffs' Motion To Compel Discovery of Foreign
         9/10/2010                                                           809       Hitachi    outside the United States on the grounds that
                      Conduct and Pricing
                                                                                                  claims based on those sales were barred
                                                                                                  under the FTAIA.
                                                                                                  Hitachi refused to produce documents from,
                                                                                                  or provide any information regarding, the
                      Plaintiffs' Motion to Compel Discovery for the Time                         period prior to November 2003. They
         9/10/2010                                                           809       Hitachi
                      Period Prior to November of 2003.                                           argued that claims based on purchases prior
                                                                                                  to that time were barred by the 4 year statute
                                                                                                  of limitations.
                                                                                                  Defendants moved to compel production of
                      Defendants' Motion to Compel Production of                                  the translated Chunghwa meeting reports
         9/28/2010                                                           810   All Defendants
                      Chunghwa Translations                                                       that Chunghwa had provided to plaintiffs as
                                                                                                  part of the settlements.




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                                                                            DOCKET
           DATE                     NAME OF MOTION                                 DEFENDANT                  SUBJECT MATTER
                                                                              NO.
                                                                                                   IPPs and DPPs moved to compel the
                                                                                                   following additional discovery: 1. identify &
                                                                                                   search additional custodial files including
                                                                                                   Hitachi employees who attended Chunghwa
                                                                                                   meetings; 2. provide last known contact
                      Plaintiffs' Motion to Compel Further Discovery from
          3/3/2011                                                           877       Hitachi     information of former employees; 3. produce
                      Hitachi Defendants
                                                                                                   complete organizational charts; 4. disclose
                                                                                                   methodology for searching custodial files; 5.
                                                                                                   produce documents and transactional data in
                                                                                                   a timely fashion.

                                                                                                   IPPs and DPPs moved to compel Defendants
                   Plaintiffs' Motion to Compel Defendants to Produce                              to produce their English translations of
         1/16/2012                                                           1082   All Defendants
                   English Translations                                                            documents listed in their interrogatory
                                                                                                   responses.
                                                                                                   IPPs and DPPs moved to compel Toshiba to
                      Motion to Compel Production of Documents and                                 add ten important custodians to the agreed-
         2/15/2012                                                           1154       Toshiba
                      Information from the Toshiba Defendants                                      upon list, and search their files for
                                                                                                   responsive documents.
                                                                                                   IPPs moved to compel Sean Hull, an
                      IPPs' Motion to Compel Discovery from Objector                               objector to the IPPs' settlement with
         3/15/2012                                                           1155        N/A
                      Sean Hull                                                                    Chunghwa, to produce documents and
                                                                                                   appear for his deposition.
                                                                                                   IPPs and DPPs moved to compel Hitachi to:
                                                                                                   1. search for and produce documents and
                                                                                                   information relating to pass-through of the
                      Motion to Compel Further Discovery from Hitachi
         3/27/2012                                                           1208       Hitachi    overcharge; 2. restore and search back-up
                      Defendants
                                                                                                   tapes for responsive information; 3. produce
                                                                                                   transactional data; 4. produce complete
                                                                                                   organizational charts.
                                                                                                   IPPs moved to compel Panasonic to provide
                      IPPs' Motion to Compel Panasonic to Disclose the                             the last known addresses of certain former
         4/18/2013                                                           N/A      Panasonic
                      Last-Known Address of Certain Former Employees                               employees. Panasonic refused to do so
                                                                                                   pursuant to the Japan Privacy Law.


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                                                                           DOCKET
           DATE                     NAME OF MOTION                                DEFENDANT                   SUBJECT MATTER
                                                                             NO.
                                                                                                   IPPs and DAPs moved for an order limiting
                      Motion for Discovery Order Limiting Objections
         10/15/2013                                                         2462      Toshiba      speaking objections at depositions, and to
                      and Motion to Strike Improper Deposition Errata
                                                                                                   strike to improper deposition errata.
                                                                                                   IPPs and DAPs moved to compel Toshiba
                                                                                                   and/or JDI (a joint venture between Toshiba
                      Motion to Compel Depositions of Michael Du,                     Toshiba,     and Hitachi Displays) to produce three
          7/1/2014                                                          2734
                      Seiichi Fukunaga, Michihiro Yoshino                          Hitachi and JDI significant witnesses for deposition. Each of
                                                                                                   these witnesses were former employees of
                                                                                                   Toshiba and current employees of JDI.
                                                                                                   IPPs moved to strike two errata on the
                      IPPs' Motion to Strike Two Errata on Deposition of                           deposition of a Samsung SDI witness
          8/8/2014                                                          3104    Samsung SDI
                      Mr. Sung Kook Sung                                                           because they substantively altered the
                                                                                                   testimony.
                                                                                                   The Toshiba Defendants amended their
                      Motion to Compel the Depositions of 5 Recently                               initial disclosures in early August 2014 to
          9/2/2014    Disclosed Witnesses or, Alternatively, Limit Their    3146       Toshiba     name several new witnesses. IPPs and
                      Use at Trial                                                                 DAPs moved to compel the depositions of
                                                                                                   these witnesses.
                   IPPs' Motion to Compel Deposition of Joon Seong                                 IPPs moved to compel defendant Samsung
          9/5/2014                                                          3130    Samsung SDI
                   (J.S.) Ahn                                                                      SDI to produce J.S. Ahn for deposition.
                   Omnibus Motion to Compel Further Responses to                      Toshiba,     IPPs moved to compel further responses to
         9/12/2014                                                          N/A
                   Contention Interrogatories                                        Panasonic     contention interrogatories.
                                                                                                   IPPs moved to compel further responses to
                      Motion to Compel Supplemental Responses to                                   interrogatories regarding Toshiba and
         9/19/2014                                                          N/A        Toshiba
                      Interrogatories                                                              Panasonic's ownership and control of
                                                                                                   defendant MTPD.
                                                                                                   IPPs moved to compel Toshiba to
                      IPPs' Motion to Compel Certain Defendants to
         10/29/2014                                                         N/A        Toshiba     authenticate certain documents as business
                      authenticate documents as business records
                                                                                                   records.
                    IPPs' Supplemental Motion to Compel Certain                    Samsung SDI, IPPs moved to compel additional defendants
         11/24/2014 Defendants to authenticate documents as business        N/A      Panasonic, to authenticate certain documents as business
                    records                                                            Hitachi     records.
                    Motion to Compel Deposition of Toshiba Witness                                 IPPs moved to compel Toshiba to produce a
         12/22/2014                                                         N/A        Toshiba
                    Shibata                                                                        significant witness for deposition.


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